                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

ADA THAXTER                                )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )       Docket No.
                                           )
                                           )       JUDGE
                                           )
METROPOLOTAN GOVERNMENT                    )
OF NASHVILLE AND DAVIDSON                  )
COUNTY, TENNESEE                           )       JURY DEMAND
                                           )
    Defendant.


                                       COMPLAINT



       COMES NOW Plaintiff, Ada Thaxter (hereafter “Plaintiff” or “Ms. Thaxter”) by and

through counsel, and respectfully submits her Complaint against, Metropolitan Government of

Nashville and Davidson County, Tennessee (hereafter “Defendant”) and in support thereof would

allege as follows:

                                          PARTIES

   1. Plaintiff is a citizen and resident of Hermitage, Davidson County, Tennessee.

   2. Defendant, Metropolitan Government of Nashville and Davidson County, Tennessee

       (“Defendant” or “Metro”), is a consolidated city-county government located at 200 James

       Robertson Parkway, Nashville, Tennessee 37201. Defendant employs more than 500

       employees and can be served through its Director of Law, Saul Solomon, Esq.,

       Metropolitan Government of Nashville, Department of Law, Metro Courthouse, Suite 108,

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   P.O. Box 196300, Nashville, Tennessee 37219.

                                JURISDICTION AND VENUE

3. This action is brought under Title 42 U.S.C § 1983 as a civil action in violation for the

   deprivation of rights.

4. Jurisdiction and venue are proper in this Court as Plaintiff and Defendant are located

   within Davidson County and all or a substantial portion of the acts and/or omissions

   claimed herein occurred within the boundaries of Davidson County, Tennessee.

5. This Court has jurisdiction under 28 U.S.C. § 1331 to hear Plaintiff’s claims arising under

   the Constitution and laws of the United States.



                                     FACTS



6. On or about July 20, 2014, Commander Kaye Lokey called and advised Plaintiff that she

   selected Plaintiff to work for her at the Midtown Hills Precinct and that the grand opening

   would occur on August 16, 2014.



7. On or about Monday September 1, 2014, Officer Samuel Ruth was insubordinate and

   Commander Lokey wanted Plaintiff to monitor Officer Ruth’s behavior instead of write

   him up for insubordination which was the proper procedure.



8. On or about October 15, 2014 Commander Lokey and Plaintiff discussed how Sergeant

   Jason Spenser was giving Plaintiff a hard time. During this conversation, Plaintiff


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   reassured Commander Lokey that she had her back but that she needed Commander Lokey

   to support her as well to which Commander Lokey responded, “I can’t move a Flex

   sergeant.” During this conversation, Commander Lokey never asked what issues Plaintiff

   had with Sergeant James Spencer.



9. From approximately September 1, 2014, through December 31, 2014, Officer Lokey’s

   responses and interactions with Plaintiff became distant, Her Commander did not respond

   to emails. In reaction to this behavior, Plaintiff notified the B detail sergeants that it was

   becoming more difficult to work for an uncommunicative Commander but that Plaintiff

   would continue to run the detail to the best of her ability without guidance or help from her

   superior. She also notified B detail sergeants that she was displeased with Sergeant

   Spencer’s behavior and his interaction with his co-workers.



10. On or about January 2, 2015, Plaintiff, during Sergeant Spencer’s yearly evaluation

   informed him that Deputy Chief Brian Johnson and Commander Lokey were dissatisfied

   with his two previous complaints that he had received Control numbers 099814C use of

   hand-held mobile and 103214C official obligation. Technically, his complaints amounted

   to three (3) total complaints and not two (2) while under Plaintiff’s supervision. One

   complaint involved Plaintiff responding to a scene at a traffic stop that Sergeant Spencer’s

   Flex team had initiated on Nolensville Pike after a State Representative complained about

   how Spencer treated him. Spencer’s response was that the Supreme dictates how he

   responds and allows for him to stop suspicious vehicles.



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11. Following this incident, once again, Plaintiff indicated to Commander Lokey how difficult

   it was to supervise the obstinate Sergeant Spencer. Plaintiff requested that Sergeant

   Spencer be moved and replaced by Sergeant Ted Woosley because he was a better fit, more

   respectful, and cared about his officers that he worked so closely with. Again, Plaintiff

   reminded her Commander that she had her back and hoped that the Commander had her

   back in return. However, Commander Lokey denied Plaintiff’s request and stated again

   that she “can’t move a Flex sergeant.”



12. During Sergeant Spencer’s counseling, Plaintiff informed him that the Commander denied

   her from moving him and she told him that if the Commander kept him on Flex for 2016

   then Plaintiff would asked to go to another precinct because she was not going to go

   through another situation like the traffic stop again. In the same meeting, she also informed

   him that if he received another complaint she would not “fluff” any more complaints for

   him he was on his own to clear his complaints. She reminded him that no Sergeant should

   receive multiple complaints back to back.



13. On or about Tuesday, February 24, 2015, Commander Lokey cancelled Plaintiff’s half

   (1/2) shift vacation because a protest meeting was developing at MTH. However,

   Commander Lokey already approved her vacation time on Sunday, February 22, 2015 so

   she could take her Bachelors final test on Wednesday, February 25, 2015. When Plaintiff

   reminded her that she was already off that day her Commander and she retorted that

   Plaintiff should have reminded her that she requested time off. From that point going

   forward, Plaintiff started personally sending return receipt trackers and emailing her

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   Commander anytime she had to correspond with her after this incident. Commander Lokey

   still did not ask what troubles Plaintiff was having with Sergeant Spencer.



14. On or about March 24, 2015, Officer Johnny Cantrell filed a complaint (Control

   #048215C) after being informed to read the truthfulness policy. Commander Lokey

   investigated the matter which was not complete or accurate because she purposefully left

   Plaintiff’s statements surrounding the incident out. Plaintiff previously sent Commander

   Lokey two separate emails on February 23, 2015 and February 26, 2015 requesting

   guidance on dealing with this officer, which Commander Lokey never replied to either

   request. The result of the case was “Not sustained instead of Exonerated.”



15. On or about April 23, 2015, Sergeant Spencer received his fourth complaint (Control

   #051115C) which led to him harassing, questioning, and retaliating against Plaintiff after

   she refused to alter her “Sustained” findings.



16. On or about May 29, 2015, Plaintiff turned in Sergeant Spencer’s completed packet to the

   Midtown Precinct PACL Lieutenant Eric Snyder with a courtesy charge. She “Sustained”

   the complaint recommended and suggested a 311 after reading Sergeant Spencer’s

   supplement report along with the complainant’s email. She was informed to change the

   finding to “Not Sustained” by Lieutenant Snyder and to delete some of the information that

   was included in her original report. However, after reading her findings again, Plaintiff

   disagreed with the “Not Sustained” label and kept the original charge of “Sustained”.



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17. On or about June 2, 2015, Commander Lokey presented Plaintiff with two 216A lieutenant

   work test period evaluations prior to her departure to the SMIP course in Boston,

   Massachusetts. After reading one of the evaluations, Plaintiff told her Commander that she

   did not agree with the evaluation. Plaintiff informed her Commander that one particular

   situation in the evaluation in which she received a complaint from Officer Cantrell could

   have been avoided if Commander Lokey had responded to Plaintiff when she asked for

   assistance. Plaintiff went on to explain to Commander Lokey that she sent her two emails,

   one on February 23 and one on February 26 asking to discuss three (3) officers and one (1)

   sergeant whom Plaintiff had concerns with who were negatively affecting the detail. At

   this time, Plaintiff pleaded with Commander Lokey that she needed to start supervising and

   she needed to stop deflecting, ignoring, and systematically dismissing issues Plaintiff

   brought to her attention.



18. On or about June 5, 2015, Plaintiff attended the SMIP course in Boston, Massachusetts

   until June 25, 2015.



19. On or about July 21, 2015, Commander Lokey sent Plaintiff her yearly evaluation via

   email. In response to seeing and disagreeing with her scores, Plaintiff wrote a three (3)

   page rebuttal and requested to meet with her Commander so that she could further discuss

   her evaluation. Plaintiff was disappointed because per her evaluation, Commander Lokey

   never verbalized expectations even when Plaintiff inquired two (2) to three (3) times.

   Further, Commander Lokey never trained Plaintiff on how to present BIG Compstat to the

   Chief. As a result, Plaintiff had to go to another Commander Terrance Graves as well as

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   Lieutenant Joe Towers who helped her complete that task.



20. On or about July 22, 2015, during Plaintiff’s evaluation meeting with Commander Lokey,

   Commander Lokey told Plaintiff that she heard that Plaintiff wanted to go to North

   Precinct at rebid. At that point, Plaintiff notified her that she wanted to go to a precinct

   where the Commander “had her back” such as a Commander like Terrance Graves.

   Commander Lokey suggested that they just “ride this year out” to which Plaintiff replied

   that she still wanted to talk about rebid and requested that Commander Lokey not select her

   for 2016. Plaintiff felt strongly about this situation because she felt like she had

   Commander Lokey’s back yet she never had Plaintiff’s back. Specifically, Plaintiff never

   worked in an environment she was promised at the outset of her employ under Commander

   Lokey. Instead, any time Plaintiff came to her with an issue she routinely ignored her. At

   this meeting, Plaintiff informed Commander Lokey that she had been on the receiving end

   of sexual harassment at work and that she felt like she could not come to her with her

   problems out of fear that Commander Lokey would accuse her of misleading said person.

   Commander Lokey never once asked who the person at issue was and instead diverted the

   conversation back to Plaintiff’s workload and when she was volunteering to assist other

   agencies or units in the department. Later that same day, Plaintiff followed up with

   Commander Lokey to see what the status was Sergeant Spencer’s packet.



21. On or about July 24, 2015, Commander Lokey informed Plaintiff that she sent Sergeant

   Spencer’s packet to OPA for review that very day. This was the first time Plaintiff learned

   that the packet was being reviewed outside of the precinct.

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22. On or about Tuesday, August 18, 2015, Plaintiff had a closed door meeting with Midtown

   Hills sergeants Krumrow, Rucker, Hartely, Kooshain, involving Sergeant Jason Spencer

   videotaping three black officers in his segment.



23. On or about August 24 through August 29 Plaintiff received Sergeant Spencer’s packet

   from OPA where Captain Christopher Gilder recommended two (2) additional charges.

   Plaintiff disagreed with Commander Lokey and Lieutenant Eric Snyder’s attempts to clear

   Sergeant Spencer’s misconduct. Plaintiff informed Commander Lokey of the additional

   charges. At all times, Commander Lokey continued to try to use her authority to influence

   Plaintiff to violate policy. At that time, Sergeant Spencer was currently facing six (6)

   charges.



24. On or about Tuesday September 1, 2015, Sergeant Spencer filed a complaint against

   Plaintiff after she refused to change his suspension days and the charges on his fourth

   complaint (Control #051115C).



25. On or about Friday September 4, 2015, Plaintiff received her notice of complaint from

   OPA.



26. On or about Saturday September 5, 2015, Plaintiff filed an official OPA complaint against

   Commander Kaye Lokey to Deputy Chief Brian Johnson for the following:

       a. Failing to supervise and failing to report Plaintiff’s sexual harassment allegation on

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          July 22, 2015.

       b. Hostile Work Environment due to interfering in use of force and the complaint

          process, trying to persuade Plaintiff to change her investigative findings on three

          (3) cases. (Officer E. Harvey 108 assigned to Sergeant E. Rucker, Officer W.

          Reeves 108 assigned to Sergeant Spencer, and Sergeant Spencer 312).

       c. Discrimination.

       d. Retaliation for properly doing her job.



27. On or about Wednesday, September 16, 2015, Plaintiff had her first interview with OPA

   involving the complaint against her with Sergeant Atif D. Williams asking questions which

   lasted approximately three and a half (3 ½) hours.



28. On or about Monday, September 28, 2015, Plaintiff had her first interview with HR

   conducted by Sue Bibb, Christy James in charge of Payroll, and Dewayne Taylor who

   oversaw Background and Recruitment in regard to the August 18, 2015 incident involving

   Sergeant Spencer videotaping black officers.



29. Later that day the Chief of Police, Steve Anderson along with the secretary Mrs. Debbie

   Savage contacted Plaintiff and asked if she would come downtown for a meeting. At the

   meeting, Mr. Anderson mentioned he just wanted to know a little about Plaintiff. He

   inquired about her background, her upbringing, and childhood. Eventually, Plaintiff

   brought up the strained working relationship she had with Commander Lokey. The Chief

   asked her if she would like a transfer and she retorted that she had not done anything wrong

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   in the situation and thus she should not be forced to transfer.



30. On or about Tuesday, September 29, 2015, Plaintiff was visiting her brother Lieutenant

   Aussie Thaxter at the Tennessee Highway Patrol. At this time, Sergeant David Howard the

   very same man who sexually harassed Plaintiff, texted her a harassing and threatening text.

   Immediately, Plaintiff contacted Sergeant Williams who told her to call Captain

   Christopher Gilder about this incident. Plaintiff did as she was told and Captain Gilder

   asked for her to send him a screenshot of the text message. Captain Gilder and Plaintiff

   discussed in detail the text and he made a decision to not Decommission Sergeant Howard.



31. Plaintiff informed Captain Gilder that she would be going on military leave in three (3) to

   four (4) days and that she would be safe until then. She also informed Captain Gilder that

   she would tell Sergeant Kumrow and Sergeant Rucker to be on alert just in case something

   developed at work.




32. On or about October 1, 2015, Plaintiff was interviewed by Sergeant Carlos Lara about the

   complaints she filed against Commander Kaye Lokey.

33. On or about Sunday, October 4 - November 10 Plaintiff reported to military leave for her

   staff and command (WOILE) course at Fort Rucker, Alabama. Plaintiff took excuse time

   from November 11-15, 2015.




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34. On or about Monday, October 19, 2015, Plaintiff was contacted by HR director Sue Bibbs

   asking if Plaintiff wanted to transfer she declined but told her she appreciated the

   opportunity but she did not want to transfer unless she was told to as she did not do

   anything wrong but if the department thought it was in her best interest she might

   reconsider.

35. On or about Monday, November 16, 2015, once Plaintiff returned from military/ excuse

   leave, she noticed that Sergeant Spencer’s complaint packet had been sent back from

   Captain Kenneth Walburn.

36. On or about Wednesday, November 18, 2015 , Plaintiff requested to be removed from the

   case concerning Spencer. Plaintiff sent Captain Walburn an email, however, she did not get

   a response back from him. Therefore, Plaintiff continued to work on the complaint until

   Saturday, November 21, 2015.

37. On or about Thursday, November 19, 2015, Plaintiff sent Sergeant Spencer an email

   stating, “Sergeant Spencer, if you saved your original complaint supplement on

   2015-0383678 (051115C) before you added Captain Gilder proposals. Please give me a

   copy. After reviewing the packet, some quotes that were in the original supplement are not

   in the one that I currently have.”



38. On or about Friday, November 20, 2015, during Plaintiff’s FSS duty she attempted to

   complete corrections on a citizen compliant filed against Sergeant Jason Spencer (Control

   #05115C) that was initiated on April 23, 2015. Captain Kenneth Walburn asked for several

   clarifications regarding the complaint. During her revision, she noticed that some of the


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   information in Sergeant Spencer supplement was missing and or other statements were

   added without Plaintiff’s knowledge which brought additional questions surrounding her

   original findings/conclusions. Sergeant Spencer sent Plaintiff two supplements via email

   stating, “LT, I have both supplements the original and the one that I completed as requested

   to address Captain Gilders questions. I have attached both to this email. If there is anything

   else that you need please let me know.” Plaintiff responded, thanking him and telling him

   his packet was sent back addressing original quotes that were not in the second packet.

39. Plaintiff contacted Captain Gilder and informed him of the changes on the supplement

   packet. She informed him that the differences on the supplement packet that was sent with

   the packet led Captain Walburn to question the packet’s synopsis and findings. Captain

   Gilder and Plaintiff then discussed in detail the importance of Sergeant Spencer locating

   his original complaint supplement. Captain Gilder stated that Sergeant Spencer should

   have turned in an ‘Addendum supplement’ instead of changing or revising his original

   supplement. Plaintiff informed Captain Gilder that she would request for the original

   supplement again so she could address the discrepancies.

40. On or about Saturday, November 21, 2015, Plaintiff sent an email again to Sergeant

   Spencer stating to call her when he had a chance. The supplement he sent was still different

   from the original supplement she gave him on April 23, 2015. As a result, Plaintiff’s

   completed synopsis was not lining up with his supplements and quotes.




41. On or about Saturday, November 21, 2015, Sergeant Spencer contacted Plaintiff and they

   spoke about his original supplement in detail. Sergeant Spencer admitted that he had

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   revised his original supplement. Plaintiff inquired why he would do such a thing without

   her knowledge to which he responded, “they told me to change my supplement.” When

   Plaintiff asked who “they” was, he responded he could not remember but someone told him

   to change it. Sergeant Spencer stated the revision was completed by him in June 2015. She

   informed Sergeant Spencer that she would have been in Boston at that time and if the

   changes happened within that time period she would have no knowledge about it.




42. Plaintiff informed Sergeant Spencer that she completed the packet on May 29, 2015 and

   did not physically get the packet back until after Captain Gilder had made his

   recommendations on the charges on August 24, 2015. She also informed Sergeant Spencer

   that he did not give her a revised copy nor did anyone inform her that he had changed his

   original statement because she would have had to change her synopsis and findings.

   Plaintiff informed Sergeant Spencer she completed her corrections and findings on Friday

   November 20, 2015 during her FSS assignment but he was being given a chance to find the

   original version.

43. Sergeant Spencer and Plaintiff agreed that she would not turn the packet into Commander

   Lokey until Tuesday November 24, 2015, allowing him time to retrieve or find his original

   supplement.




44. On or about Thursday, November 19, 2015, Chief Steve Anderson asked Plaintiff to come

   to his office. During the meeting, he mandated her to transfer and report to Youth Service

   effective on December 1, 2015. Plaintiff declared that she did not want to go to Youth


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   Service, she would rather stay on patrol. The Chief discussed in detail why she should go

   and she needed to trust him. Chief Anderson took some responsibility for the transfer

   saying some of the issues were his fault stating, “Somethings I didn’t know and somethings

   I was blindsided with and I take the blame.” Plaintiff after much time and thought during

   her five (5) week military leave realized she did nothing wrong and she was the victim and

   now she was being transferred against her will.




45. On or about Friday, November 20, 2015, while Plaintiff was supervising an active

   “Transgender Protest” at 1008 Scarriitt Avenue, when Captain Howey contacted her about

   her transfer. He stated if she wanted to report before December 1st she could do so. Plaintiff

   informed him that she still had a complaint packet on her desk that needed she needed to

   correct.




46. On or about Sunday, November 22, 2015, Plaintiff received an email from Deputy Chief

   Brian Johnson directing her to cease any further investigation regarding Sergeant Jason

   Spencer’s case and to make an appointment to talk to him about her transfer.


47. On or about Monday, November 23, 2015, Plaintiff reported to Deputy Chief Johnson to

   discuss Sergeant Spencer’s packet and her mandated Youth Service transfer. DC Johnson

   informed her that her complaint was founded outside of policy after HR investigated the

   complaint. He stated that she could no longer supervise Sergeant Spencer to ensure that no

   one could charger her with retaliation due to the fact that his packet had not been finalized.


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   At the meeting, Deputy Chief Johnson also informed her that HR found the allegation

   against her to be “Sustained” that Sergeant Spencer filed on September 1, 2015 and that the

   transfer was needed. However, Commander Lokey was not transferred after Plaintiff the

   complaint against her.




48. On or about Monday, November 23, 2015, Plaintiff sent an email to Deputy Chief Brain

   Johnson and copied Commander Lokey stating she was just informed that Sergeant

   Spencer’s original packet was sent to them that day and that she would drop the additional

   documents off in about an hour or so.




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49. Later on November 23 , Sergeant Edward Rucker and Plaintiff entered Plaintiff’s office

   and noticed that Sergeant Spencer's complaint packet had been removed from Plaintiff’s

   inbox without her knowledge. Plaintiff also noticed that the picture frame with her mom's

   picture had been removed from its original spot on her desk and laid face down on her desk.

   When Plaintiff asked the secretary, Mrs. Hansen if she had she allowed anyone into

   Plaintiff’s office, Commander Lokey who was in Mrs. Hansen’s office, immediately spoke

   up, and stated that she retrieved the packet and sent the packet downtown. Plaintiff

   informed Commander Lokey that she just left Deputy Chief Johnson’s office who had

   given her specific instructions to stop working on the packet and to send him all the

   documents that had been completed.




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50. On or about Monday, November 23, 2015, Plaintiff delivered Sergeant Spencer’s revised

   312 complaint packet to Deputy Chief Johnson.




51. On or about Wednesday, December 02, 2015, OPA Sergeant Jeremy Moseley sent an

   email requesting a settlement hearing for Monday, December 7, 2015 in regard to the

   complaint filed against Plaintiff by Sergeant Spencer.




52. Later that day, HR representative Jackie Hoffman contacted Plaintiff requesting a

   follow-up meeting pertaining to the sexual harassment complaint she filed against Sergeant

   David Howey




53. On or about Thursday, December 3, 2015, Plaintiff met with HR representative Sue Bibb,

   Background & Recruitment Dewayne Taylor, and payroll Ecko Johnson. Once the

   interview started Ms. Bibb stated the interview was pertaining to the hostile work

   environment complaint against Commander Kaye Lokey and not the Sexual Harassment

   claim she thought she was to discuss against Sergeant David Howey. Due to the confusion

   about the interview, Plaintiff requested a follow-up interview because she was not prepared

   to address the ‘Hostile Work Environment’ compliant only the sexual harassment

   incidents.




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54. On or about Friday, December 4, 2015, Plaintiff reported to the HR office to give her

   Sexual Harassment and Hostile work Environment testimony. While waiting in the area

   outside of HR representative Sue Bibb’s office, Plaintiff overheard her name being

   mentioned several times. At that time, she heard Mrs. Bibb make negative remarks,

   accusations, and conclusions that Plaintiff’s case was meritless. Plaintiff walked into Sue

   Bibb’s office to see her talking to Dewayne Taylor and Ecko Johnson and she felt that they

   had already made up their minds about her case so she felt further discriminated against.

   Therefore, Plaintiff notified Captain Gordon Howey by email and phone that she was

   going to file a complaint against Mrs. Bibb.




55. Later that day, Plaintiff spoke to Captain Howey in detail about how she did not trust the

   department after her interaction with Mrs. Bibb. After discussing the violations Captain

   Howey informed her that he was going to brief Deputy Chief Todd Henry before

   forwarding Plaintiff’s complaint email to OPA. Mrs. Bibb sent Plaintiff an email excusing

   herself and her team off the two pending ‘Hostile Working Environment and Sexual

   Harassment’. She was notified that Mr. Seth Waltenbaugh and or Mr. Brian Ward both

   are with Metro HR and would be contacting her shortly to begin the process.



56. On Wednesday, December 30, 2015, Metro PD HR informed Plaintiff that Channel 17

   News Sabrina Hall requested to review her personal file. Plaintiff contacted Don Aaron to

   see why the news wanted to review her file. He informed her that someone from the Police

   Department had notified the news about her case. A few minutes later, the chief walked in



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   and hugged her. The COP stated they were going to get through this. She informed him that

   she was going through this situation because she stood up for what was right.



57. On or about Thursday, December 31, 2015, OPA Director Mrs. Kathy Monrante

   immediately walked over and hugged Plaintiff stated, “90- 95 percent of the stuff that the

   news printed was incorrect because she worked the case.” She informed her she knew.

   Plaintiff hugged her and told her that the truth was going to come out eventually.

58. On or about January 6 – 13, 2016, Plaintiff completed her eight (8) calendar day suspension

   after HR Director Sue Bibb completed her investigation of Sergeant Spencer’s complaint.

59. On or about January 14, 2016, a Metro DV detective contacted Plaintiff requesting an

   interview for the following day. Plaintiff informed the detective that she was excused until

   January 19th and could meet with him.

60. On or about January 19, 2016, Plaintiff met with Deputy Chief Todd Henry and Captain

   Gordon Howey to get re-instated back to work after her decommission suspension days.

   Deputy Chief Henry informed her that Commander Kaye Lokey filed a complaint against

   of “Untruthfulness” with OPA against Plaintiff. Deputy Chief Todd Henry informed

   Plaintiff that she would be decommissioned until the investigation was complete. He then

   reassigned her to the Records Division and advised her that she could not work in the

   Youth Service Division pending the investigation. During her meeting, she asked Deputy

   Chief Henry why she was being moved a second time when Commander Lokey and HR

   Director Sue Bibb have not moved, as they are currently under investigation as well.

   o Commander Lokey was “Untruthful” during her OPA investigation surrounding

       Plaintiff’s sexual harassment complaint.

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   o Mrs. Bibb was biased and interfered with Plaintiff’s hostile working environment and

       sexual harassment complaint during her interview on December 4 and 5th, 2015.

   o Sergeant David Howard was not decommissioned or transferred after Plaintiff filed

       sexual harassment against him on September 16, 2015. .

61. From January 25 – February 29 Plaintiff requested FMLA.

62. After meeting with her therapist, Plaintiff requested another 30 days leave from February

   29 to March 28, 2016.

63. Plaintiff was forced to “Resign” due to the fact that she knew she would not be treated fair

   by her supervisors or subordinates within the Police Department.



                                  CAUSES OF ACTION

                     COUNT ONE: Violations of 42 U.S.C. § 1983

64. Plaintiff incorporates by reference, as if fully set forth herein, all preceding paragraphs of

   this Complaint.

65. Plaintiff was mandated to transfer for her refusal to remain silent about the harassing and

   discriminatory treatment to which she was subjected to by Defendant.

66. Plaintiff was demoted as a direct and proximate result of refusing to remain silent about

   Defendant’s improper actions and other unlawful and discriminatory treatment directed

   towards Plaintiff.

67. As a direct and proximate result of Defendant’s illegal retaliatory treatment of Plaintiff for

   her refusal to remain silent, Plaintiff has suffered and continues to suffer loss of income




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        and other employment benefits, distress, humiliation, embarrassment, emotional pain and

        suffering, and other damages.




  COUNT TWO: Violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e:
                  Gender, Sexual Harassment and Retaliation

31.     Plaintiff incorporates by reference, as if fully set forth herein, all preceding paragraphs of

        this Complaint.

32.     Defendant has over 15 employees.

33.     During all times complained herein, Defendant was an employer under the terms of Title

        VII of the Civil Rights Act, 42 U.S.C. 2000e (b) and (f), and as such, Defendant is subject

        to the rules, regulations and penalties of this law.

34.     Plaintiff engaged in protected activity when she made complaints against a fellow

        employee.

35.     Defendants did segregate or classify Plaintiff, based upon her gender, in a way that

        deprived employment opportunities to Plaintiff or otherwise adversely affected her status

        as an employee.

36.     Defendant denied Plaintiff the opportunity to be employed free of sexual harassment and

        retaliation in the workplace.

37.     Plaintiff was retaliated against based on her participation in a protected activity.

38.     This discrimination on the part of Defendant constitutes a violation of the Plaintiff’s rights

        under Title VII.




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39.     The discriminatory employment practices, described herein, have caused Plaintiff to

        experience harm, including emotional distress, humiliation, indignity and resulting injury

        and loss along with other damages.

        COUNT THREE: Violations of Tennessee Whistleblower Act, T.C.A. 50-1-304

40.     Plaintiff incorporates by reference, as if fully set forth herein, all preceding paragraphs of

        this Complaint.

41.     The conduct described herein constitutes unlawful violations of T.C.A. §50-1-304 in that

        Plaintiff was willfully terminated by Defendant in retaliation for Plaintiff complaining

        about unethical and dangerous behavior in the workplace.

42.     Plaintiff was subjected to harassment and a groundless disciplinary action, which

        evidences retaliatory intent on Defendant’s part for Plaintiff’s refusal to stay silent.

43.     Plaintiff’s complaint served an important public policy purpose in that she was attempting

        to ensure the precinct followed policy and disciplinary guidelines.

44.     Plaintiff was subjected to harassment in violation of the Tennessee Whistleblower Act in

        retaliation for complaining about unethical and dangerous behavior in the workplace.

45.     As a direct and proximate result of Defendant’s actions as described herein, Plaintiff has

        suffered and continues to suffer distress, humiliation, embarrassment, emotional pain and

        other damages including lost wages.




                                     PRAYER FOR RELIEF

        Wherefore, Premises Considered, Plaintiff prays of this Honorable Court as Follows:

        1. That this Complaint be filed with this Court;


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  2. That proper process issue and be served upon Defendant;

  3. That Defendant be required to answer this Complaint within the time prescribed by law

     in the Federal Rules of Civil Procedure;

  4. That a Jury be empaneled and Plaintiff be granted a jury trial in this cause;

  5. That Plaintiff be granted all lost income and benefits to which he is entitled as

     requested herein above;

  6. That Defendant be enjoined from continuing such discriminatory employment

     practices;

  7. That Plaintiff be granted a judgment for compensatory damages requested herein;

  8. That Plaintiff be granted his reasonable attorney’s fees and all discretionary costs in

     this action; and,

  9. That Plaintiff be granted such other, further, or general relief to which he may be

     entitled.




                                                Respectfully submitted,



                                                /s R. Patrick Parker
                                                R. Patrick Parker, BPR # 16847
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